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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA OCALA DIVISION

MICHAEL MARANDA,

Plaintiff, AFFIDAVIT OF JOHN F.
HARWICK, ESO. IN
SUPPORT OF
APPLICATION FOR
DEFAULT JUDGMENT TO
CLERK PURSUANT TO
FRCP 58(b)(1)

Index No. 5:19-CV-00528-
JSM
-against-

HASH DEPLOY, INC. and DOUGLAS SHOOK,

Defendants.

JOHN F. HARWICK, Esq., an attorney duly licensed to practice law in the
State of New York with a temporary order pro hac vice to practice for this case in

the Middle District of Florida, affirms under the penalty of perjury as follows:

1. I am a Partner in the firm of E. Stewart Jones Hacker Murphy, LLP,
attorneys for the plaintiff in the above captioned matter, as such I have knowledge
of the facts and circumstances herein.

2. I make this affidavit in support of this application to the Clerk of this

Court for default judgment in a sum certain amount pursuant to FRCP 58(b)(1).
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3. Attached as Exhibit “1” is the supporting Affidavit of the plaintiff
Michael Maranda setting forth the procedural history.

4. This action was commenced with the filing of a Complaint on October
16, 2019 with the Summons and Complaint being served on defendant Hash Deploy,
Inc. on October 23, 2019. Exhibits “A” and “B” to the affidavit of Michael Maranda.

5. | OnNovember 19, 2019, Hash Deploy, Inc. interposed an answer in this
case pro se. Exhibit “C” to the affidavit of Michael Maranda.

6. On January 8, 2020, this Court sua sponte ordered Hash Deploy, Inc.
to appear via counsel which the defendant failed to do.

7. On February 3, 2020 the Court directed plaintiff to make an application
to the clerk for entry of default judgment pursuant to FRCP 55(a). Exhibit “D” to the
affidavit of Michael Maranda.

8. Plaintiff made said application with default being entered by the Clerk
on February 27, 2020. A copy of the Clerk’s Order of Default is attached hereto as
Exhibit “2”.

9. To date, defendant Hash Deploy, Inc. has ignored this Court’s January
8, 2020 order and has failed to appear or otherwise move to vacate the default herein.

10. That Hash Deploy, Inc. is a business corporation existing under the laws
of the State of Florida and is not an infant or otherwise incompetent nor is Hash

Deploy, Inc. eligible for military service.
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11. That this is a breach of contract action for failure to deliver duly paid
for goods with sum certain damages in the amount of $580,000 plus interest at the
legal rate from and after May 11, 2019. Aff. of Michael Maranda at 10; Exhibit “A”
to Aff. of Michael Maranda describing the goods and price paid.

12. That plaintiff is entitled for the Clerk of this Court to enter this sum
certain judgment in the amount of $580,000 plus interest at the legal rate from and
after May 11, 2019 with a Bill of Costs thereto.

13. Acopy of the Proposed Judgment is attached as Exhibit “3” and a copy
of the Bill of Costs is attached as Exhibit “4”,

14. Plaintiff respectfully reserves his right for a hearing to consider
additional punitive damages and attorney’s fees on this matter.

WHEREFORE, plaintiffs respectfully request the Clerk of this Court enter a
Default Judgment for a sum certain against Hash Deploy, Inc. in the amount of
$580,000 plus interest at the legal rate from and after May 11, 2019 with the Bill of

Costs taxed thereto , and for such other and further relief as is just and proper.

Gime
ofin FNarwick, Esq.

Sworn to before me on this
31% day of March 2020.

in NY
Notary Public M. Dudley

Notary Public, State of New York
Reg. No. 01DU6340971

Qualified in Albany County )
Commission Expires May 02, 20,
